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                                                                           2021 Feb-19 AM 09:24
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

NUCLEAR DEVELOPMENT,                  )
LLC,                                  )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )      Case No.: 5:18-cv-1983-LCB
                                      )
TENNESSEE VALLEY                      )
AUTHORITY,                            )
                                      )
      Defendant.                      )

                                  ORDER
      Before the Court is the Motion of Memphis Publishing Company to Intervene

and Unseal Court Record (Doc. 133). Plaintiff Nuclear Development and Defendant

Tennessee Valley Authority are hereby ORDERED to file a response to the motion

by February 24, 2021 at 12:00 P.M. It is further ORDERED that a hearing on the

motion is set for February 25, 2021 at 1:15 P.M. at the Federal Courthouse in

Huntsville, Alabama.

      DONE and ORDERED this February 19, 2021.



                                 _________________________________
                                 LILES C. BURKE
                                 UNITED STATES DISTRICT JUDGE
